Case 3:10-cr-03617-BEN   Document 293   Filed 12/02/11   PageID.3174   Page 1 of 6
Case 3:10-cr-03617-BEN   Document 293   Filed 12/02/11   PageID.3175   Page 2 of 6
Case 3:10-cr-03617-BEN   Document 293   Filed 12/02/11   PageID.3176   Page 3 of 6
Case 3:10-cr-03617-BEN   Document 293   Filed 12/02/11   PageID.3177   Page 4 of 6
Case 3:10-cr-03617-BEN   Document 293   Filed 12/02/11   PageID.3178   Page 5 of 6
Case 3:10-cr-03617-BEN   Document 293   Filed 12/02/11   PageID.3179   Page 6 of 6
